Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 1 of 9




                                UN ITED STATES D ISTRICT COU RT
                                SOU TH ERN DISTRICT O F FLO RIDA

                           CASE NO.22-CR-80144.SM lTH/M A> ARD(s)


    U NITED STATES O F AM ERICA



    JOFF STENN W ROY PHILOSSAINT,
            Defendant.

                                        FAG UA L PROFFER

          TheUnitedStatesAttorney'sOfficefortheSouthern DistrictofFlorida(ddthisOffice'')and

   thedefendant,JoffStenn W roy Philossaint,agreethatthefollowingstatem entoffactsisaccurate
   and providesa factualbasisforthedefendant'spleaofguilt'y.Al1factsweretrue atalltim esrelevant

   totheofinseconductunlessamorespeciftcdateortimeisspecified.Thedefendantunderstands
   tlaatthegovernm entmaypresentevidence atfutureproceedingsthathiscrim inalconductwasm ore

   extensive tlaan isdescribed in thisproffer.

                  Paragraphs1-9 oftheG eneralAllegationsoftheSklperseding Indictmentaccurately

   describethePayrollProtection Program (''PPP'
                                              ')and theEconomicInjuryDisasterLoan (tfEIDL'')
   program .Theyare incorporated into thisstatem entoffactsasiffully setforth herein.

                               GeneralSum m ary ofO ffense Conduct

                  Beginningno laterthan inoraround MayorJune2020and continuingthroughno
   earlier than in or ar'ouad June 2021, Philossaint assisted numerous conspirators to submit
   fraudtllentapplicacionsfor PPP loansand EIDL'ou behalfofbusinesses ownecland cotatrolled by

   the conspirators.Atfirst,Philossaintcarried otltthisscheme whileworking forCom pany 1,which
'




        Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 2 of 9



1
I   .
:
           was operated by Conspirator 1.Later,Philossaintbegan working forhim selfand carrying outthe

           sanle'schenRe.

                            Philossaint prepared loan applications for the conspirator business owners and

           caused the applicationsto besentto hisconspiratorsto digitally sign and electronically subm itto

           variousfinancialinstitutions and the SmallBusinessAdministration (ï(SBA'').The applications
           contained materialm isrepresentations aboutthe businesses,sttt!h assubstantialoverstatem ents of

           the businesses'grossrevenues,num berofemployees,and average monthly payrolt.Based on tlnese

           fratldulent applications,various privpte financial institutions and SBA
                                                                                 ' loaned m oney,generally

           hundreds of thotlsands of dollars, to the conspirators' busirtesses. Philossaint later prepared

           applications on behalf of the conspirator btlsinesses for forgiveness of the PPP loans. These

           applicationsfalselystated thatthebtlsinesseshad metthepreconditionsofloan forgivenessbyusing

           theloanstopaypayrolland/orforotherpermissibleexpenses.

                  4.        Atltolnatic Data Processing,Inc.(td
                                                              A DP'')provided porrolland other services to
           businesses.Conspirator1and/orPhilossaintopenedADP accotlntsonbehalfoftheirconspirators,
           witlathemselves(Conspirator1orPlnilossaint)ast13eaccountadministrators.Theycaused ADP to
           m ake paym ents ptlrportedly for payrolt to individtlals with tlRe loan proceeds,although these

           indi
              vidualseitherdid notwork fortheloan recipientsorwerenotentitled to payrollin theam ounts

           paid.Philossaintattèm pted to obtain and use ADP recordsto s'
                                                                       upportthe applications forloan

           forgiveness.

                            BriannaM oniqueG aylehad previotlslyworketlforAD P.Durëng theconspiracy,she

           worked asan assistantto Philossaint.Recordsobtained from ADP showed thatG ayle,whileworking
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 3 of 9




   forPhilossaint,contacted AD P on mtlltiple occasions between M ay 2021 and April2022.G ayle

   contacted AD P to m anagepayrollaccount.
                                          senrolledby EIVC,such asaddingorrem oving accounts.

                 G ayle also contacted AD P to retzieve payrolldocum ent
                                                                       .sand W -2's for the payroll

   accounts.Gaylecalled ADP onJanuary 26,2022,and conferenced Philossaintinto thecall.They
   stated thattheirentireclientlistshould havebeen term inated asgoingoutofbusinessand therefore

   should have received W -2's for 2021. Gayle continued to m ake calls to ADP on behalf of the

   com paniesenrolled by EIVC to olltain '
                                         W L2's.

                 Shortly afiertlne conspiratorbusinessownersreceived theirloan proceeds,they paid

   eitherConspirator1 or'
                        Philossainta fee ofapproxim ately 10% ofthevaltle ofthe loans.In m any

   cases,the feewaspaid to shellcom paniesthatPhilossaintcontrolled,which did no trtlebusiness,or

   inacctlrate notationswere m ade on ihe checks orother instrum entsofpaym ent.These paym ents

   were m ade from and to financialinstitutions,thatis,bank.
                                                           sthe deposit.
                                                                       s ofwhich were insured by

   the FederalD epositlnsuranceC orporation.

                 Philossaintassi
                               'sted codefendantsand conspiratorstoapplyforfraudulentloansand

   applied forsucla loans him self.Tlae conspirators applied on belaalf of:Gayte,applying as a sole

   proprietor; Cinda Foundacion lnc; D DZ Fam ily Enterprises LLC; Ferro's Entertainm ent and

   Prodtlction LLC;JREAM Vision TV LLC;One Solutton Group LLC;RoyalEliteTrans,LLC;
   SunriseCityConstruction Dmrelopm entLLC ;U nfold Perception,LLC;and otkerbusinesses.Based

      these applications, lenders and SBA                                               which the

   conspirators were not elatitled. The conspirators who received fhese loans paid Philossaint

   approxilnately 10% oftllevalkle oftheloans.
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 4 of 9




                 The fraudulent PPP loan and EID L applications involved in the scheme were

   subm itted electronically to selwers located outside R orida.Philossaint,Tollinchi, Rene, Gayle,

   Shazier,Johnson,and mostoftheotherconspiratorsresided andworked in theSoutlwrn District
   ofFloridaand subrnitted theirapplicationsfrom thisdistrict.

                                     U nfold Perception,LLC

                 The applications for PPP loans subm kted by U nfold Perception, LLC are a

   representative example of the scheme anul conspiracy. Unfold was a Florida lim ited liability

   com pany.lt was organized on M ay 28, 2019. Rene was che sole m anaging m ember.U nfold's

   principalplace ofbusilaesswasin q/estPalm Beach,Florida.

                 OnJune 18,2020,Unfold appliedforaPPPloan.Theloan application wasdigitally
   signed byRene.The apptication waselectronically transm itted to CelticBank'sservers,which were

   located in U tah.The application stated that U nfold had three employees and average m onthly

   payrollof$32,781.66.Forthetwelvemonthsprecedingthisapplication,recordsofUnfold'sbank
   accountrevealdaatthecompanyhadgrossrevenueofapproximately$10,000andnopayroll.A copy

   ofan IRS Form 941(Employer'sQuarterlyTax Returns)wassubmitteulwith theapplication.This
   form appeared to corroboratethepayrollfigttreon theapplication.H owever,U nfold did notsubm it



   loan toUnfold'sW ellsFargobankaccountin theamotlntof$81,954.
                 Trust Alliance Enterprises lnc. (t'Trust'') was a Florida corporation. It was
   incorporatedonJune 1..
                        5,2020.Conspirator1wasthesoleofficer.On June2.
                                                                     5,2020,Renesigned
   acheck.from theUnfold bank accountmadeouttoTrustin theamountof$10,654.02.
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 5 of 9




                 On June30,2020,eight-daysafterUnfold received itsPPP loan,a payroilaccount

   was created at ADP for Unfold.Conspirator1 was the prim ary contact. From July through
   December2020,usingproceedsofthePPP loan,Unfold paid$49,172.24 in paymentspurportedly

   forpayrollviaADP,including$29,999.97toRene.
          14.    On Februaw 22.2021,Unfold applied fbr8
                                                      1second PPP loan.The application was

   electronically transm itted to Celtic Bank's servers,which were located in U tah.The application

   statedtllatUnfold hadthreeemployeesallclaveragemontlalypayrollof$32,781.Forthetwelve
   months preceding tlnis application,U nfold haclgross revenue of approximately $24,000 (not
   including PPP and EIDL l'
                           unds)and payrollofapproximately $2,300 (not including the ADP
   payments).A copyofthesame1RS Form 941thathad accompaniedUnfold'spreviousapplication,
   which had notbeen submitted to theIRS,wasstlbnlitted with thenew application.Based on this

   application,on Februat
                        -y 23,2021,CelticBank transferred aPPP loan to U nfokl's'
                                                                                W ellsFargobank

   accotlntintheamountof$81,952.
                 Dad M oney lnvestmentGroup,LLC and Elite InternationalVenttlre Capital,LLC



   Philossaintwasthe PresidentofDad M oney.Dad M oneywasEIVC'Ssole m anaging m em ber.Tlae

   companies principal places ofbusiness were two differentsuites in the same office building in

   H allandaleBeach,Florida.

                 O n M arch 5,2021,Renesigned a check from theU nfold W ellsFargo bank accotlnt

   madeokltto EIVC in theamotlntof$5,597-somewl4atlessthan 10% ofthe amountofUnfold's
   second PPP loan.In the lnem o lineofthecheck waswritten theword ïtaccounting.''
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 6 of 9




                   O n M ay 6,2021,Unfold opened a new ADP account.Philossaint was the only

   authorized firm representative listed on the account.From M ay through August, 2021, using

   proceedsofthePPP loan,Unfold paid $49,194.0.
                                              5 in paymentspurportedlyforpayrollviaADP,
   including$30,044.28 to Rene.ThelastpaymentwasmadeonAugust25,2021.
          18.      O n August6,2021,Rene sent Philossainta voice recording over MfhatsApp.She

   stated thatshewas'Cwonderingwhen isthelastdate ofthe payrollso thatwaylcan callthem so they

   can pause it.Please Ietme know-''0 n August18,2021,Renewrote to Philossaintby W hatsApp,

   ttplease it
             -tform meofwlnen daedarepayrollends.1believe ichasbeen six m ontlas-''Law enfbrcem ent

   agentssubseqtlentlyrecovered thesemessagesfrom Philossaint'sphone.

          19.      O n M ay 24, 2021, U nfold applied for f'
                                                           orgiveness of its first PPP loan. The

   application claim ed thatU nfold had three em ployeesatthetim eoftheapplication and thatU nfold

   had spent$49,172.24oftheloan on paypllexpenses.AsaresultofUnfold'sapplication,theloan
   wasforgiven.

          20.      O n September8,2021,U nfold applied forforgivenessofitssecond PPP loan.The

   application claim ed thatU nfold had tllreeemployeesarthetim eoftlle application and t13atU nfold

   had spent$49,761.07oftheloan on payrollexpenses.AsaresuttofUnfold'sapplication,theloan
   wasforgivetl.

                                          RoyalElite Trans

                   RoyalEliteTrans,LLC wasa Florida lim ited liability com pany.Philossaintwasthe

   sole m anaging m ember.lts principal place ofbusiness changed severaltim es,butwas always in

   M ianai-DadeorBroward County,Ftorida.Philossaintwasthe only signatow on RoyalEliteTrans's

   bank accounts.
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 7 of 9




          22.    O n April 1, 2020, RoyalElite Trans applied for an EID L.The appllcation was

   electronicallytransmitted to theselwersoftheSmallBtlsinessAdministl-ation (d'SBA''),whichwere
   iocared ourside of Florida.The application required RoyalElite Trans to describe irs ï'detailed

   businessactivity-''Theapplication listed ''Limosinelsicq& Transportation-''SBA initiallydeclined
   theapplication,butPhilossaintrequestedreconsideration ofthatdecisionand thenadministratively

   appealeclit,and the loan was granted.O n December 16,2021,Philossaintelectronically signed a

   Loan Authorization and Agreement witl, SBA.The agreem ent il4cluded the requirement that

   ttfblorrowerwirluse alltlaeproceedsoftlaisLoan solely asworking capitalto alleviate economic
   injurycaused by disasteroccurring in tlne month ofJanuary31,2020 and continuingthereafter-''
   On December21,2021,SBA transferred an EIDL to RoyalEliteTrans'Bank ofA mericachecking

   accotlntin theamotlntof$289,400.Philossaintistheonlysignatoryon thisaccount.
                 RoyalEliteTranshadnotstlffered econom icinjtlryin2020.RoyalEliteTrans'sbank

   records indicate that the colnpany's gross revenue increased frolu $136,766.93 in 2019 to
   $237,755.07 in 2020 (exuluding PPP anclEIDL funds).The records contain no indications that
   RoyalEliteTransoperated alimousineorsimilartransportasion businessand no indicationsrhat

   RoyalEliteTranspaid anysignificantbusinesjexpenses.

                 Anattorney'slnterestonTrustAccount(t'1OTA'')isaninterest-bearingtrustaccount
   used bym embersoftheFloridaBarto hold nom inalorshort-term futldsin trustforaclientorthird

   party whell itwottld notbe feasible to earn incom eon che funds forthe clientorchird party.The

   incom e on the IOTA accoklntbeneflts charitable causes tlesignated by the Florida Bar.Tollinchi

   Law,PA was a Florida corporation engageul in the practice of law.The sole officer was M ariel
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 8 of 9




   Tollinchi.Tollinchiwasan attorney and wasin a romanticrelationship with Philossaint.To'
                                                                                         llinchi

   Law m aintained an IOTA accountatChaseBank.

                 O n Decem ber22,2021,two checkswerewritten from theRoyalEliteTransaccount,

   onetoTollinchiLaw for$34,000andrheothertoTollinchipersonallyfor$6,573.63.OnJanua'v5,
   2022.$26,371.30waswiretlfrom RoyalEliteTrans'BankofAmericacheckingaccounttoTollinchi
   Law'sIOTA account.OnJanuary6,2022,TollinchiLaw wiredthesamesum,$26,371.30,from the .
   salne accoulAtto an accountin the DomillicaïàRepublic.Tlle notation associared with thewireread,

   ''
    JoffPbilossaintrealestatepurclaase-''OnJanuary20,2022,tlaesana.e RoyalElireTransaccounr
   wired $190,000.00 to thesameTollinchiLaw IOTA account.OnJanuary25,2022,TollinchiLaw
   wired $200,000 from itsIOTA accountto an accountin the Dominican Republic.The notation
   associated with thewireincluded JoffPhilossaint'snameand thewords,'ïlkealestate-''RoyalElite
   Trans'sbank recordscontain no indic
                                     'ation thatitsbusinessitwolved realestate transactionsbefore

   itobtained theEIDL.

          2.6.   BeforetheElDl-zwasdeposited into RoyalEliteTrans'Bank ofAm ericaaccotlnt,the



   January2O,2022,theaccountreceivedappl-oximately$31,650indeposits.Therefore,RoyalElite
   Transcould nothave transferred the fundstoTollinchidescribed abovewithouttl
                                                                             4e EID L.
Case 9:22-cr-80144-RS Document 94 Entered on FLSD Docket 11/14/2022 Page 9 of 9




                                     Fitaanciallnstitutions

                W ells Fargo,Bank ofAm erica,and Chase Bank were financialinstitutions,thatis,

   banksrhe deposit-
                   sofwhich were insured by rhe FederalDeposirlnstlrance Corporation.

                                            JUAN ANTONIO GONM LEZ
                                            U NITED STATES AU O RN EY

   D ï1 /,#1.,
     ate:
             y.
                                            M ARC O SBO RN E
                                            ASSISTANT U NITED STATES AU O RNEY


   oate:        l
                                            IAN GO LD. N
                                            AU ORNE O R DEFEN DANT


   oate, tl11/:z'F                                 <.
                                            JO FSTENN W ROY PHILOSSAINT
                                            D EFEN DANT
